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 1   Counsel for Plaintiffs and Defendants
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                                   UNITED STATES DISTRICT COURT
 9
                                NORTHERN DISTRICT OF CALIFORNIA
10
                                             OAKLAND DIVISION
11
     GRANT HOUSE, et al.,                                No. 4:20-cv-03919 CW
12
                                         Plaintiffs,
13                                                       CLASS ACTION
            v.
14
     NATIONAL COLLEGIATE ATHLETIC                        JOINT RULE 26(f) REPORT AND
15   ASSOCIATION, et al.,                                INITIAL CASE MANAGEMENT
                                                         CONFERENCE STATEMENT
16                                     Defendants.

17
     TYMIR OLIVER, et al.,                               No. 4:20-cv-04527 CW
18
                                         Plaintiffs,
19                                                       CLASS ACTION
            v.
20
     NATIONAL COLLEGIATE ATHLETIC
21   ASSOCIATION, et al.,
22                                     Defendants.
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 1            Pursuant to Federal Rule of Civil Procedure 26(f), Civil Local Rule 16-9, and the Standing

 2   Order for all Judges of the Northern District of California, Counsel for Plaintiffs Grant House,

 3   Sedona Prince, and Tymir Oliver (“Plaintiffs”) and Defendants National Collegiate Athletic

 4   Association, Pac-12 Conference, The Big Ten Conference, Inc., The Big 12 Conference, Inc.,

 5   Southeastern Conference, and Atlantic Coast Conference (“Defendants,” and collectively with

 6   Plaintiffs, “the Parties”) in the above-referenced actions submit this Joint Rule 26(f) Report and

 7   Initial Case Management Conference Statement in advance of the initial Case Management

 8   Conference scheduled for November 18, 2020. The Parties met and conferred as required by Rule

 9   26(f) on October 27, 2020.

10                                   I.       JURISDICTION AND SERVICE
11            This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §§ 1331,

12   1337(a), and 1367. Venue is proper in this District pursuant to 28 U.S.C. § 1391 and 15 U.S.C.

13   §§ 15, 22. Defendants do not dispute personal jurisdiction. All Defendants in House have been

14   served, and Defendants in Oliver waived service.

15                                                     II.    FACTS
16            Plaintiffs’ Statement of Facts
17            Plaintiffs bring these actions both individually and on behalf of damages and injunctive relief

18   classes, alleging that the Defendants have unlawfully conspired to fix the terms NCAA schools offer

19   to Division I student-athletes, which prohibit all student-athletes from receiving anything of value for

20   the commercial use of their names, images, and likenesses (“NILs”). By collectively agreeing to

21   prohibit student-athletes from receiving any compensation whatsoever in connection with the

22   commercial use of their NILs, and further agreeing to boycott any school that offers its athletes NIL-

23   related compensation or the opportunity to receive NIL compensation from third parties, Defendants

24   have artificially restrained competition among NCAA schools solely to protect their own financial

25   interests and to enhance the revenues generated through the use of student-athlete NILs for

26   themselves and their for-profit business partners.

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 1            Defendants’ conduct is blatantly anticompetitive and exclusionary, foreclosing schools from

 2   competing freely for the best college recruits and depriving student-athletes of the ability to

 3   capitalize on their NIL rights at the very time those rights are most valuable, value that will quickly

 4   diminish after graduation. Moreover, the facts alleged show that that are no procompetitive

 5   justifications for Defendants’ restraints, and to the extent they serve any procompetitive objective

 6   (they do not), there are less restrictive alternatives. In Defendants’ Statement of Facts, infra, they

 7   repeat the argument from their motion to dismiss that this case is merely a repeat of prior cases. But

 8   as explained in Plaintiffs’ opposition brief, this argument is wrong for various reasons, including but

 9   not limited to because there have been numerous material factual developments since O’Bannon and

10   Alston. See House, ECF No. 102 at 3-12. It is ironic that Defendants are making this argument when

11   recent statements by Defendants themselves in official reports and letters to Congress admit that the

12   current NIL rules are unfair, unnecessary, and should be changed, and many of college sports’ most

13   powerful coaches and athletic directors have said the same thing. The facts Plaintiffs allege further

14   indicate that consumer demand for college sports would not suffer if Defendants’ rules were

15   changed, and in fact, consumers would become more interested in college sports if these NIL

16   restraints, viewed as exploitative by so many Americans, were scrapped. Based on these allegations,

17   Plaintiffs assert causes of action for violations of the federal antitrust laws and under state common

18   law for unjust enrichment.

19            Defendants’ Statement of Facts
20            The Court should be familiar with the facts and claims in this case because it has confronted

21   them several times before. Plaintiffs describe their lawsuit as a challenge to the NCAA’s compensation

22   rules that “prohibit all student-athletes from receiving anything of value for the commercial use of their

23   names, images, and likenesses (“NILs”).” See supra at 1. That is the exact same claim that this Court

24   and the Ninth Circuit resolved in O’Bannon. See Defs.’ Reply ISO Mot. to Dismiss at 1, House ECF

25   No. 103; Oliver ECF No. 41. And it is subsumed by the subsequent lawsuit, litigated by Plaintiffs’

26   attorneys here, “to dismantle the NCAA’s entire compensation framework.” In re NCAA Athletic

27   Grant-in-Aid Cap Antitrust Litig., 958 F.3d 1239, 1247 (9th Cir. 2020) (“Alston”). Indeed, one of the

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 1   named Plaintiffs here, Tymir Oliver, was a member of the Alston classes. As Defendants have

 2   explained in their motions to dismiss, Plaintiffs have failed to identify any plausible basis for allowing

 3   them to recycle that claim yet again.

 4            The rules Plaintiffs challenge enhance, rather than restrict, competition. Both this Court and

 5   the Ninth Circuit have determined that the NCAA’s rules are procompetitive because they preserve

 6   amateurism and thus enhance consumer demand. For that reason, and others that can be further

 7   explained if this case proceeds, the Court should reject Plaintiffs’ third attempt to invalidate NCAA

 8   rules regulating the compensation student-athletes can receive.

 9                                             III.     LEGAL ISSUES
10            This case raises the following legal issues, among others:

11            1. Whether the proposed Class and Sub-Classes identified in House and Oliver should be

12                certified pursuant to Fed. R. Civ. P. 23;

13            2. Whether or not Defendants’ conduct is (a) unlawful under the Sherman Act; and/or

14                (b) gives rise to claims for unjust enrichment;

15            3. Whether or not Plaintiffs and other members of the respective proposed Class/Sub-

16                Classes were injured by Defendants’ alleged unlawful conduct and, if so, the appropriate

17                measure of damages; and

18            4. Whether or not Plaintiffs and other members of the respective proposed Class and Sub-

19                Classes are entitled to, among other things, declaratory and/or injunctive relief, and if so,

20                the nature and extent of such declaratory and/or injunctive relief.

21                                                IV.        MOTIONS
22            On September 11, 2020, Defendants filed a motion to dismiss Plaintiffs’ complaints. See ECF

23   Nos. 101 (House) and 35 (Oliver). This motion is fully briefed and set for hearing on November 18,

24   2020. The Parties currently anticipate the following future motions: a motion for class certification,

25   motions for summary judgment and/or summary adjudication, and possible motions regarding the

26   scope of discovery.

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 1                                   V.      AMENDMENT OF PLEADINGS
 2            Consolidation of the substantively identical House and Oliver complaints is likely appropriate

 3   subject to the Court’s ruling on Defendants’ motion to dismiss, and Plaintiffs are prepared to timely

 4   file a consolidated complaint following the Court’s ruling on such motion if appropriate. Plaintiffs do

 5   not presently anticipate any further substantive amendments to the pleadings but reserve all rights in

 6   this regard depending on the Court’s orders and/or if additional information comes to light.

 7                                     VI.     EVIDENCE PRESERVATION
 8            The Parties have reviewed the Guidelines Relating to the Discovery of Electronically Stored

 9   Information and agree to take reasonable and necessary steps to preserve evidence relevant to the

10   issues reasonably evident in this action.

11                                             VII.     DISCLOSURES
12            Pursuant to a stipulation, ECF Nos. 114 (House) and 77 (Oliver), the Parties anticipate

13   exchanging initial disclosures on November 13, 2020.

14                                               VIII. DISCOVERY
15            The Parties met and conferred regarding case management and discovery issues on October

16   27, 2020, pursuant to Fed. R. Civ. P. 26(f). The Parties plan to enter into a modified version of the

17   Northern District of California Model Stipulated Order Re: Discovery of Electronically Stored

18   Information and further intend to enter a stipulated protective order pursuant to Fed. R. Civ. P. 26(c).

19            Plaintiffs’ Statement
20            Plaintiffs anticipate seeking production of any documents and information relevant to the

21   claims and defenses in this action, including but not limited to documents and information relating

22   to: the appropriate definitions of relevant antitrust markets, Defendants’ market power, the effects of

23   Defendants’ conduct on the relevant markets, the application and enforcement of Defendants’

24   restraints, Defendants’ purported procompetitive justifications for their restraints, the availability of

25   any less restrictive alternatives, and the availability and measure of damages and other relief to

26   Plaintiffs and members of the Class. Fact and expert discovery is also required with respect to class

27   certification. In addition to propounding written discovery, Plaintiffs expect the Parties to prepare for

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 1   and conduct depositions, including depositions of the named defendants and named plaintiffs, current

 2   and former employees of Defendants, and other third parties. Plaintiffs are likely to notice and

 3   conduct depositions pursuant to Fed. R. Civ. P. 30(b)(6). Plaintiffs expect that numerous records will

 4   be produced by third parties in connection with this action.

 5            Fact discovery should commence immediately:

 6            Plaintiffs believe that fact discovery should commence immediately. Under the Federal

 7   Rules, the only event required to trigger the commencement of discovery is a Rule 26(f) conference

 8   between the parties. That occurred on October 27, 2020. Defendants take the position that discovery

 9   should be stayed indefinitely until the Court rules on Defendants’ motion to dismiss. Plaintiffs

10   respectfully disagree for the following reasons.

11            First, because the Parties already conducted their Rule 26(f) conference, discovery is now

12   open, and any request to stay discovery should be made, if at all, on a noticed motion. Requesting

13   that discovery be stayed in a Joint Rule 26(f) Report is not the proper procedure for seeking relief

14   from discovery obligations.

15            Second, staying discovery pending the outcome of a motion to dismiss is disfavored by courts

16   and an exception to the normal procedures, reserved for circumstances that are not present here.

17   “Had the Federal Rules contemplated that a motion to dismiss under Fed. R. Civ. P. 12(b)(6) would

18   stay discovery, the Rules would contain a provision to that effect. In fact, such a notion is directly at

19   odds with the need for expeditious resolution of litigation.” Skellerup Indus. Ltd. V. City of L.A., 163

20   F.R.D. 598, 600-01 (C.D. Cal. 1995). As courts have observed, “such motions are disfavored

21   because discovery stays may interfere with judicial efficiency and cause unnecessary litigation in the

22   future.” White v. E-Loan, Inc., 2006 WL 2850041, at *2 (N.D. Cal. Oct. 5, 2006); see also In re

23   Apple In-App Purchase Litig., 2012 U.S. Dist. LEXIS 18970, at *3 (N. D. Cal. Feb. 15, 2012)

24   (same); Mlejnecky v. Olympus Imaging Am., Inc., 2011 WL 489743, *6 (E.D. Cal. Feb. 7, 2011)

25   (courts “look unfavorably” upon blanket stays of discovery pending a motion to dismiss).

26   Accordingly, the burden is on Defendants to make a “strong showing” of “good cause” justifying a

27   departure from the liberal discovery principles reflected in the Federal Rules. See Blankenship v.

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 1   Hearst Corp., 519 F.2d 418, 429 (9th Cir. 1975) (those opposing discovery carry a heavy burden of

 2   showing why discovery should be denied). To show “good cause,” Defendants must show more than

 3   an apparently meritorious 12(b)(6) claim: “A district court may … stay discovery when it is

 4   convinced that the plaintiff will be unable to state a claim for relief.” Wood v. McEwen, 644 F.2d

 5   797, 801 (9th Cir. 1981) (emphasis added).

 6             As Defendants point out, some courts have applied a two-prong test to determine whether

 7   discovery should be stayed pending resolution of a dispositive motion. Equally important, however,

 8   is the manner in which this test has been applied by those courts: “In applying this two-factor test,

 9   the court must take a ‘preliminary peek’ at the merits of the pending dispositive motion to assess

10   whether a stay is warranted.” In re Nexus 6p Prods. Liability Litig., 2017 WL 3581188, at *1 (N.D.

11   Cal. Aug. 18, 2017).1 Plaintiffs respectfully submit that a “preliminary peek” into the merits of

12   Defendants’ pending motion to dismiss reveals that the likelihood of dismissal is far from strong—as

13   must be shown to support a blanket discovery stay. Defendants’ motion asks the Court to dismiss

14   Plaintiffs’ lawsuits based on arguments similar to those rejected in the O’Bannon and Alston cases

15   (such as to stare decisis, see House, ECF No. 102 at 3-12), and to resolve inherently factual issues

16   related to the elements of Plaintiffs’ claims, including the definition of the “relevant market” and

17   other matters not typically resolved on summary judgment, let alone on a Rule 12 motion.

18             Third, staying discovery would prevent the productive advancement of this case while the

19   Parties wait for a decision on the motion to dismiss. Without discovery, the Parties cannot effectively

20   evaluate whether an early settlement is warranted, and thus a stay could needlessly lengthen these

21   proceedings.2 Furthermore, “discovery would not be wasted even if the Motion to Dismiss is granted

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          1
23         Notably, in the cases Defendants cite, a stay of discovery was granted only after the court had
     already granted a motion to dismiss or otherwise found the plaintiff’s complaint to be obviously
24   deficient. See In re Netflix Antitrust Litig., 506 F. Supp. 2d 308 (N.D. Cal. 2007) (granting limited
     stay pending amendment of complaint after the court had already granted motion to dismiss
25   plaintiffs’ claims); Reveal Chat Holdco, LLC v. Facebook, Inc., 2020 WL 2843369, at *3 (N.D. Cal.
     Apr. 10, 2020) (granting stay based on court’s conclusion that “Facebook’s motion to dismiss
26   presents strong arguments, which could prove difficult for Plaintiffs to overcome, even considering
     that leave to amend is freely given”); Braun v. Yahoo, 2018 WL 10809622 (N.D. Cal. Mar. 28, 2018)
27   (granting stay after the court had already granted motion to dismiss with leave to amend).
          2
            Defendants suggest that because the hearing on the motion to dismiss is scheduled for
28    November 18, 2020, a stay of discovery would be inconsequential. But Defendants are not asking for
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 1   since [Plaintiff] could utilize the discovery responses to prepare an amended pleading.” San

 2   Francisco Tech. v. Kraco Enterprises LLC, 2011 WL 2193397, at *3 (N.D. Cal. June 6, 2011). There

 3   is no basis to delay discovery.

 4            The Court should set a discovery schedule now and all discovery should proceed

 5   simultaneously without bifurcation:

 6            Contrary to Defendants’ argument, Plaintiffs respectfully submit that the Court should set a

 7   discovery schedule now so the Parties can work toward timely resolution of this case. For all the

 8   reasons explained above, and consistent with Federal Rule of Civil Procedure 1’s goal of ensuring

 9   “the just, speedy, and inexpensive determination” of this case, setting a schedule and commencement

10   of discovery without delay is appropriate.

11            Plaintiffs also submit that the Court should similarly reject Defendants’ suggestion that

12   bifurcated discovery may be warranted, and should instead allow all discovery to proceed

13   simultaneously. This case is no different than the countless other class actions in which merits and

14   class discovery proceed concurrently.

15            Among the matters the court may consider in deciding whether to bifurcate are: (1) the

16   overlap between individual and class discovery, (2) whether bifurcation will promote Federal Rule of

17   Civil Procedure 23’s requirement that certification be decided at “an early practicable time,” (3)

18   judicial economy, and (4) any prejudice likely to flow from the grant or denial of a stay. See True

19   Health Chiropractic Inc. v. McKesson Corp., 2015 WL 273188, at *1 (N.D. Cal. Jan. 20, 2015) (the

20   overlap between individual and class discovery weighs against bifurcation); see also Gray v. First

21   Winthrop Corp., 133 F.R.D. 39, 41 (N.D. Cal. 1990) (“An order staying discovery pending class

22   certification would be unworkable, since plaintiffs must be able to develop facts in support of their

23   class certification motion. An order restricting discovery to class issues would be impracticable

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25

26   a stay until the hearing. Rather, they want a stay until the motions are resolved. If a stay is imposed,
     this case will be at a complete standstill until a ruling is issued, needlessly protracting this litigation,
27   which began with the initial House Complaint that was filed on June 15, 2020, five months ago.
     Plaintiffs are ready to move forward with discovery. See Plaintiffs’ scheduling proposal at Section
28   VII, infra.
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 1   because of the closely linked issues, and inefficient because it would be certain to require ongoing

 2   supervision of discovery.”).

 3            Defendants’ discussion of the (potential) appropriateness of bifurcation falls far short of

 4   meeting their heavy burden of demonstrating that bifurcation is warranted. Indeed, their generic

 5   speculation about the “viability” of Plaintiffs’ class damages claims is unfounded and, in any case, is

 6   not an appropriate basis for bifurcation. See Gray, 133 F.R.D. at 40 (denying defendants’ request for

 7   stay of discovery and explaining that argument regarding the unlikelihood of class certification was

 8   an improper attempt to “litigate prematurely the sufficiency of the complaint and the appropriateness

 9   of class certification”). As the Supreme Court made clear in Wal-Mart v. Dukes, district courts must

10   conduct a “rigorous analysis” to ensure that the requirements of Rule 23 have been met and,

11   “[f]requently that ‘rigorous analysis will entail some overlaps with the merits of the plaintiff’s

12   underlying claim. That cannot be helped. The class determination generally involves considerations

13   that are enmeshed in the factual and legal issues comprising the plaintiff’s cause of action.” 564 U.S.

14   338, 351 (2011). To the extent that Dukes requires this Court to make a preliminary inquiry into the

15   merits in deciding whether to certify the putative classes, Plaintiffs must be permitted to conduct

16   merits-based discovery prior to their motion for class certification. Because questions concerning

17   class certification and the underlying merits of the case overlap in this case, Plaintiffs would be

18   unfairly hindered in their ability to make a case for class certification without the opportunity for

19   comprehensive discovery. Indeed, Plaintiffs anticipate that Defendants will likely demand exacting

20   evidence relating to the merits of Plaintiffs’ claims at the certification stage—evidence Plaintiffs will

21   be unable to produce if denied access to merits discovery.

22            Because class and merits discovery are not easily or meaningfully definable or severable,

23   bifurcation will not promote judicial economy and would serve only to further complicate this

24   litigation by requiring unnecessary motion practice and frequent intervention by the Court. Courts in

25   this District routinely deny attempts to bifurcate where doing so would result in an inefficient waste

26   of judicial resources. For example, the Court in Chao v. Aurora Loan Services denied a motion for

27   phased discovery for this very reason, explaining that the defendant’s proposal “would be

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 1   unworkable because the certification-based evidence and merits-based evidence… is intertwined,

 2   and inefficient because bifurcation would require ongoing supervision of discovery, including the

 3   resolution of disputes concerning whether discovery is certification-based or merits-based.” 2011

 4   U.S. Dist. LEXIS 143356, at *3 (N.D. Cal. Dec. 13, 2011).

 5            Defendants’ discussion of the potential appropriateness of bifurcation falls far short of

 6   meeting their heavy burden of demonstrating that bifurcation is warranted. Indeed, apart from their

 7   generalized assertion that the class- and merits-based evidence in this case will be different,

 8   Defendants offer no explanation as to how the Parties or the Court can disentangle class discovery

 9   from merits discovery. Defendants’ argument is further misplaced given that, at this stage, there is no

10   reason to believe that denial of class certification would terminate this litigation and merits-based

11   discovery would still be of evidentiary value if the cases continue absent certification.

12            Defendants’ Statement
13            Defendants believe that the discovery Plaintiffs envision is overbroad and should not

14   commence until this Court has ruled on the motion to dismiss.3 The Court has “broad discretion to

15   stay discovery pending the resolution of a potentially dispositive motion, including a motion to

16   dismiss.” In re Netflix Antitrust Litig., 506 F. Supp. 2d 308, 321 (N.D. Cal. 2007) (citing Jarvis v.

17   Regan, 833 F.2d 149, 155 (9th Cir. 1987)). “[T]he Supreme Court has recognized that staying

18   discovery may be particularly appropriate in antitrust cases, where discovery tends to be broad, time-

19   consuming, and expensive.” Id. (citing Bell Atlantic Corp. v. Twombly, 127 S. Ct. 1955, 1967

20   (2007)); see also id. (maintaining previously imposed discovery stay pending motion to dismiss

21   “except for [one] specific narrowly-tailored request”).

22            Courts in this District apply a two-pronged test in determining whether a stay is warranted:

23   “First, a pending motion must be potentially dispositive of the entire case, or at least dispositive on

24   the issue at which discovery is directed.” Reveal Chat Holdco, LLC v. Facebook, Inc., No. 20-cv-

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26       3
          Plaintiffs’ leading argument against delaying discovery until after resolution of the motion to
27   dismiss is that this issue must be presented through a formal motion. Because the Northern District’s
     Standing Order requires the parties to address discovery and scheduling in this joint statement,
28   Defendants have raised the issue here.
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 1   000363-BLF, 2020 WL 2843369, at *2 (N.D. Cal. Apr. 10, 2020) (internal quotation marks omitted)

 2   (granting motion to stay discovery). “Second, the court must determine whether the pending motion

 3   can be decided absent additional discovery.” Id. (internal quotation marks omitted). Both prongs are

 4   met here; Defendants have moved to dismiss the entire case as an effort to pursue twice-adjudicated

 5   claims, as well as individual claims to which broad-ranging discovery may be “directed.” Id. No

 6   factual development is needed to evaluate that motion.

 7            Further, the hearing on the motion is one week away and waiting to commence discovery

 8   until this Court issues a decision will not prejudice Plaintiffs. Their proposed case schedule would

 9   run into at least 2023, so deferring the start of this discovery until the Court issues its motion to

10   dismiss decision will not cause meaningful delay. Instead, waiting will benefit all parties and the

11   Court. If the Court grants Defendants’ motion, there is no need for any party to incur the further

12   burdens of discovery. Even if outright dismissal of both complaints were not granted, Defendants

13   have moved to dismiss Plaintiffs’ Group Licensing Damages Sub-Class claim, dismissal of which

14   would significantly reduce the scope of potential discovery in this case. And how the Court defines

15   any claim that might go forward will provide useful guidance on the scope of discovery. In re Nexus

16   6p Prods. Liability Litig., No. 17-cv-02185-BLF, 2017 WL 3581188, at *2 (N.D. Cal. Aug. 18,

17   2017) (granting a three-month discovery stay pending motion to dismiss hearing in part because the

18   court “anticipate[d] that it will be able to provide significant guidance to the parties about the scope

19   of the pleadings that will be allowed to go forward at the time of the . . . hearing”).

20            Courts have not hesitated to stay discovery in circumstances similar to those in this case. See

21   Braun v. Yahoo, No. 17-cv-06294-SVK, 2018 WL 10809622, at *4 (N.D. Cal. Mar. 28, 2018) (“In

22   most cases, . . . plaintiffs must satisfy the pleading requirements of Rule 8 before the discovery stage,

23   not after it.”) (internal quotations omitted) (citing Mujica v. Airscan, Inc., 771 F.3d 580, 593 (9th Cir.

24   2014)); Cellwitch, Inc. v. Tile, Inc., No. 4:19-CV-01315, 2019 WL 5394848, at *2 (N.D. Cal. Oct.

25   22, 2019) (granting motion to stay discovery where motion to dismiss “ha[d] the potential to be

26   dispositive,” the party seeking discovery had not demonstrated it would suffer harm from a brief

27   discovery stay, and a stay would conserve judicial resources).

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 1            For similar reasons, Defendants respectfully submit that there is no need for the Court to set a

 2   discovery schedule now. To the extent the Court allows any claims to go forward, knowing the

 3   scope of those claims would allow the parties to have a more informed discussion of the timetable

 4   for litigating this case. In a similar vein, Defendants may seek to bifurcate discovery into separate

 5   class and merits phases depending on this Court’s resolution of the motion to dismiss. 4 If both

 6   damages claims remain pending, bifurcation could, at minimum, enhance judicial economy by

 7   providing the parties and the Court information on the viability of Plaintiffs’ class damages claims.

 8   And contrary to Plaintiffs’ suggestion, whether they can develop a model capable of showing injury

 9   on a classwide basis (a central question at class certification) does not depend on the same evidence

10   as an assessment of whether the NCAA’s rules restrain competition and serve procompetitive

11   purposes (which go to the merits). See Reid v. Unilever U.S., Inc., 964 F. Supp. 2d 893, 933 (N.D.

12   Ill. 2013) (bifurcating class and merits discovery, noting questions about whether the named

13   plaintiffs’ “alleged injuries are similar to those of the potential class members”).

14            To the extent the Court is inclined to instead enter a schedule now, Defendants reserve the

15   right to move for bifurcation upon receiving the Court’s motion to dismiss decision, but otherwise

16   have proposed amendments to Plaintiffs’ suggested schedule below.

17                                            IX.      CLASS ACTIONS
18            Plaintiffs believe this matter is suitable for class treatment and intend to move for class

19   certification. The Parties’ competing proposals for a class certification briefing schedule are set forth

20   in Section XVII, subject to Defendants’ reservation of the right to seek bifurcation of discovery.

21   Defendants believe class treatment is inappropriate and will oppose certification.

22                                            X.       RELATED CASES
23            Grant House, et al. v. National Collegiate Athletic Association, et al., No. 4:20-cv-03919CW

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25       4
           Plaintiffs’ complaint that Defendants failed to “meet[ a] . . . heavy burden of demonstrating that
     bifurcation is warranted” is obviously misplaced. At this time, Defendants merely identified
26   consistent with Rule 26(f) and Local Rule 16-9 bifurcation as one subject on which a motion might
     be filed in the future. If and when such a motion is filed, Defendants will meet any applicable
27   burden of persuasion based on the facts as they exist at that time.
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 1            Tymir Oliver, et al. v. National Collegiate Athletic Association, et al., No. 4:20-cv-04527 CW

 2            In re National Collegiate Athletic Association Athletic Grant-In-Aid Cap Antitrust Litigation,
              No. 14-md-02541 CW
 3
                                                       XI.     RELIEF
 4
              As detailed further in their complaints, Plaintiffs request that this Court grant them the
 5
     following relief, inter alia:
 6
              A.      Actual damages according to the proof at trial;
 7
              B.      Treble damages pursuant to 15 U.S.C. § 15;
 8
              C.      A declaratory judgment declaring as void the NCAA’s Bylaws that operate to impose
 9
     a restriction on the compensation student-athletes can receive in exchange the commercial use of
10
     their names, images, and likenesses;
11
              D.      An injunction restraining Defendants from enforcing their unlawful and
12
     anticompetitive agreement to restrict the amount of NIL compensation available to members of the
13
     proposed Class;
14
              E.      Plaintiffs’ attorneys’ fees, costs, and expenses; and
15
              F.      Other such relief that the Court may deem just and equitable.
16
              Defendants contend Plaintiffs are entitled to no relief whatsoever.
17
                                         XII.    SETTLEMENT AND ADR
18
              During the Rule 26(f) conference the Parties discussed the possibility of engaging in ADR
19
     and have filed their respective ADR Certifications pursuant to Civil L.R. 3-5. The Parties anticipate
20
     stipulating to an ADR process.
21
                   XIII. CONSENT TO MAGISTRATE JUDGE FOR ALL PURPOSES
22
              Plaintiffs respectfully decline assignment to a Magistrate Judge for all purposes.
23
                                           XIV. OTHER REFERENCES
24
              The Parties agree that this case is not suitable for reference to binding arbitration, a special
25
     master, or the Judicial Panel on Multidistrict Litigation at this time.
26

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 1                                       XV.     NARROWING OF ISSUES
 2             Plaintiffs do not believe there are any issues that can be narrowed at this time. As discovery

 3   progresses, the Parties will consider whether any issues can be narrowed by agreement or motion.

 4   Defendants believe that resolution of their Motion to Dismiss may narrow the scope of the issues in

 5   the case.

 6                                 XVI. EXPEDITED TRIAL PROCEDURE
 7             The Parties agree that this case is not suitable for the expedited trial procedure of General

 8   Order No. 64.

 9                                              XVII. SCHEDULING
10             As noted above, the Parties have met and conferred but are unable to agree upon a

11   comprehensive schedule at this point. Accordingly, the Parties present separate proposals for the

12   Court’s consideration, as set forth below:

13                    EVENT                       PLAINTIFFS’                    DEFENDANTS’
                                               PROPOSED DEADLINE              PROPOSED DEADLINE
14
       Rule 26(f) conference                   Oct. 27, 2020 (completed)     Oct. 27, 2020 (completed)
15     Discovery to commence                   Oct. 28, 2020   5
                                                                             Upon final ruling on
                                                                             motion(s) to dismiss
16     Exchange of initial disclosures         Nov. 13, 2020                 Nov. 13, 2020
17     Initial Case Management                 Nov. 18, 2020 at 2:30 p.m.    Nov. 18, 2020 at 2:30 p.m.
       Conference
18
       Hearing on Defendants’ Motion           Nov. 18, 2020 at 2:30 p.m.    Nov. 18, 2020 at 2:30 p.m.
19     to Dismiss
       Parties to submit to Court,             Dec. 11, 2020                 60 days after final ruling on
20     Stipulated Order re Discovery of                                      motion(s) to dismiss
       Electronically Stored Information
21     and Stipulated Protective Order,
       or submit to Court for resolution
22     all outstanding disputes regarding
       these otherwise stipulated orders
23     Deadline for Plaintiffs to add          30 days after ruling on       30 days after ruling on
       additional parties or claims, or        motion to dismiss             motion(s) to dismiss
24     amend complaint (including the
       filing of any consolidated
25     complaint)
       Defendants’ Answer                      28 days after ruling on       60 days after final ruling on
26                                             motion to dismiss             motion(s) to dismiss
27
         5
28           See Plaintiffs’ discussion in Section VIII, supra.
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 1     Completion of production of             Mar. 1, 2021; see also         See “Defendants’
       relevant documents from Alston          “Plaintiffs’ Statement”        Statement” below.
 2     and O’Bannon cases                      below.
 3
       Substantial Completion of               June 1, 2021 (Plaintiffs       12 months after final ruling
 4     Production of Documents by              understand “Documents”         on motion(s) to dismiss; see
       Parties                                 to include but not be          “Defendants’ Statement”
 5                                             limited to any structured      below.
                                               data requested of a Party)6;
 6                                             see also “Plaintiffs’
                                               Statement” below.
 7     Class Certification Motion and          November 22, 2021              17 months after final ruling
       Supporting Expert Reports                                              on motion(s) to dismiss
 8
       Deadline to Depose Plaintiffs’          Jan. 6, 2022                   60 days after filing of class
 9     Class Experts                                                          certification motion
       Class Certification Opposition          February 4, 2022               90 days after filing of class
10     and Supporting Expert Reports                                          certification motion
11     Deadline to Depose Defendants’          Mar. 5, 2022                   30 days after filing of class
       Class Experts                                                          certification opposition
12
       Class Certification Reply and           April 4, 2022                  60 days after filing of class
13     Expert Rebuttal Report                                                 certification opposition
       Deadline for Supplemental               No supplemental                30 days after filing of class
14     Depositions of Plaintiffs’ Class        depositions should be          certification reply
       Experts                                 permitted without leave of
15                                             the Court.
16     Hearing on Class Certification          To be set by the Court         To be set by the Court

17     Merits Discovery Cut Off                42 days after ruling on        42 days after ruling on class
                                               class certification            certification
18     Merits Experts Disclosure               42 days after ruling on        35 days after Merits
       (including reports) on issues as to     class certification            Discovery Cut Off
19     which Party bears the burden at
       trial
20     Merits Expert Response                  35 days after submission of    56 days after Merits Expert
                                               initial reports                Disclosure
21
       Merits Expert Reply                     28 days after responsive       28 days after Merits Expert
22                                             reports                        Response
23     Expert Discovery Cut-Off                35 days after reply expert     35 days after reply expert
                                               reports                        reports
24     Plaintiffs’ dispositive motion /        35 days after close of         49 days after close of expert
       Daubert motions                         expert discovery               discovery
25

26

27       6
          The Parties will make rolling productions as soon as Documents are ready to be produced. The
28   Parties agree to meet and confer in good faith about the timing and scope of productions.
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 1     Defendants’ opposition to               35 days after Plaintiffs’     49 days after Plaintiffs’
       Plaintiffs’ dispositive motion;         dispositive motion /          dispositive motion /
 2     Defendants’ cross-motion; and           Daubert motions               Daubert motions
       Defendants’ Daubert motions
 3
       Plaintiffs’ reply in support of         35 days after Defendants’     49 days after Defendants’
 4     their dispositive motion;               opposition to Plaintiffs’     opposition to Plaintiffs’
       opposition to Defendants’ cross-        dispositive motion;           dispositive motion;
 5     motion; opposition to                   Defendants’ cross-motion;     Defendants’ cross-motion;
       Defendants’ Daubert motions             and Defendants’ Daubert       and Defendants’ Daubert
 6                                             motions                       motions
       Defendants’ reply in support of         21 days after Plaintiffs’     28 days after Plaintiffs’
 7     their cross-motion and Daubert          reply in support of their     reply in support of their
       motions; opposition to Plaintiffs’      dispositive motion;           dispositive motion;
 8     Daubert motions                         opposition to Defendants’     opposition to Defendants’
                                               cross-motion; opposition to   cross-motion; opposition to
 9                                             Defendants’ Daubert           Defendants’ Daubert
                                               motions                       motions
10
       Plaintiffs’ reply in support of         14 days after Defendants’     14 days after Defendants’
11     their Daubert motions                   reply in support of their     reply in support of their
                                               cross-motion and Daubert      cross-motion and Daubert
12                                             motions; opposition to        motions; opposition to
                                               Plaintiffs’ Daubert motions   Plaintiffs’ Daubert motions
13     Hearing on all dispositive and          To be set by the Court        To be set by the Court
       Daubert motions and further case
14     management conference
15     Trial Date                              TBD                           TBD
16
              Plaintiffs’ Statement
17
              Plaintiffs’ proposed schedule is contingent on discovery proceeding without further delay, as
18
     well as an open and cooperative discovery process.
19
              Plaintiffs’ provide the following response to concerns raised by Defendants below about
20
     certain deadlines in the schedule: During the Rule 26(f) conference, the Parties discussed the
21
     production of documents, and when Plaintiffs sent their initial proposed schedule to Defendants, they
22
     included the clarification that, with respect to the deadline for “Substantial Completion of Production
23
     of Documents by Parties,” “Documents” should be understood to include any “structured data” a
24
     party agrees to produce. Indeed, that is how the term “Documents” is generally defined in this type
25
     of case. Early production of structured data is particularly important because of the substantial work
26
     and time required to collect, analyze, and understand such data. Therefore, Plaintiffs believe any
27

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 1   schedule that includes a substantial completion of production of documents deadline should

 2   encompass a deadline for production of structured data.

 3            During the Rule 26(f) conference, the Parties also discussed the production of documents

 4   from the Alston and O’Bannon cases. Because documents from these past cases should be easier to

 5   produce than documents not previously produced, Plaintiffs believe it is appropriate to set a deadline

 6   for production of those documents, which are likely to be relevant in this case. Plaintiffs stand ready

 7   to meet and confer with Defendants about the appropriate scope of production of documents from

 8   these cases.

 9            Defendants’ Statement
10            Defendants’ proposed schedule is without waiver of their anticipated motion to bifurcate

11   merits and class discovery, as noted in Section VIII supra, and is contingent upon anticipated

12   cooperation from Plaintiffs to reasonably limit discovery to what is proportionate to the needs of the

13   case.

14            In addition, Defendants object to two of the entries in Plaintiffs’ proposed schedule. The first

15   is a suggested deadline for “production of relevant documents from Alston and O’Bannon.” Given

16   the way Plaintiffs have pleaded their claims, Defendants do not necessarily agree that production of

17   documents from past cases would be appropriate. During the Rule 26(f) conference, the parties

18   stated their preliminary positions on this issue and agreed to continue negotiations as the case

19   proceeds. Plaintiffs then inserted a due date for such documents in their schedule on the day this

20   statement was to be filed. Defendants submit that whether and when such documents should be

21   produced is a matter to be resolved at a later date, after further negotiation between the parties, and

22   after this Court rules on the motion to dismiss. Indeed, in Alston, the parties agreed to produce

23   documents from prior cases only after extensive meeting and conferring during discovery.

24            Similarly, Defendants object to Plaintiffs’ position that documents include “structured data

25   requested of a Party.” Plaintiffs did not raise this issue during the Rule 26(f) conference and

26   Defendants submit it should be resolved at a later date after further negotiation.

27

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 1                                                     XVIII. TRIAL
 2            Plaintiffs have requested a jury trial. The Parties respectfully submit that it is premature to

 3   estimate an expected length of the trial at this time.

 4           XIX. DISCLOSURE OF NON-PARTY INTERESTED ENTITIES OR PERSONS
 5            Each Defendant has filed a Certification of Interested Entities pursuant to Civil Local Rule 3-

 6   15. Plaintiffs are not corporate parties and are not required to file a disclosure statement under Rule

 7   7.

 8                                     XX.     PROFESSIONAL CONDUCT
 9            Counsel for the Parties have reviewed the Guidelines for Professional Conduct for the

10   Northern District of California.

11                                               XXI. OTHER
12            The Parties have not identified any other matter that may facilitate the disposition of this

13   case.

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     JOINT CASE MANAGEMENT STATEMENT - Nos. 4:20-cv-   -17-
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 1                                           E-FILING ATTESTATION
 2            I, Steve Berman, am the ECF User whose ID and password are being used to file this

 3   document. In compliance with Civil Local Rule 5-1(i)(3), I hereby attest that each of the signatories

 4   identified above has concurred in this filing.

 5
                                                                   /s/ Steve W. Berman
 6                                                                STEVE W. BERMAN
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